 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 1 of 24 PageID# 349




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


UNITED STATES OF AMERICA
                                                          Case No. 1:23-CR-119
        v.
                                                          Hon. Leonie M. Brinkema
CONOR BRIAN FITZPATRICK,
                                                          Sentencing: January 19, 2024
        a/k/a “Pompompurin”

        Defendant.


      POSITION OF THE UNITED STATES WITH RESPECT TO SENTENCING

       Defendant Conor Brian Fitzpatrick was the founder and lead administrator of

BreachForums, an online website and cybercrime forum that was dedicated to furnishing the cyber

underworld with access to customer and user databases that hackers stole from victim companies,

organizations, and governmental entities. These databases often contained the sensitive personally

identifying information (PII) of millions of Americans.

       Created in March 2022, BreachForums quickly developed into the largest English-

language data breach forum of its kind and fueled the illicit market for high-profile databases

through two principal means. First, BreachForums operated an illegal marketplace where its more

than 300,000 members could solicit for sale and purchase breached databases and other

contraband, including stolen access devices, tools for committing cybercrime, and other services

for gaining unauthorized access to victim systems. To support these efforts, the defendant enabled

BreachForums members to post solicitations concerning the sale of hacked or stolen data on

BreachForums, exchange direct private messages through a BreachForums private messaging

function, and conduct secure transactions through a trusted “middleman” or escrow service that

                                                1
 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 2 of 24 PageID# 350




the defendant personally operated. Second, BreachForums managed a section titled “Official”

through which the defendant directly provided the forum’s paying members with access to

approximately 888 stolen databases containing over 14 billion individual records. These records

included customer databases stolen from a wide variety of companies, organizations, and

government agencies located in the United States and elsewhere.

       The defendant did all of this knowing that his criminal service was illegal. Indeed, the

defendant created and designed BreachForums with the express purpose of creating a substitute

for Raidforums, the prior leading English-language data breach forum whose operations had been

disrupted by law enforcement through the public arrest of its founder and seizure of its computer

infrastructure in January and February 2022.

       In addition, at the time of the defendant’s initial arrest on March 15, 2023, evidence was

recovered from a device seized from the defendant’s home pursuant to search warrants that showed

he knowingly possessed approximately 26 video files containing visual depictions of minors

engaged in sexually explicit conduct, including videos depicting prepubescent minors.

       The defendant has pleaded guilty to an Information charging him with conspiracy to

commit access device fraud, in violation of 18 U.S.C. §§ 1029(b)(2) and 3559(g)(1) (Count 1);

solicitation for the purpose of offering access devices, in violation of 18 U.S.C., §§ 1029(a)(6) and

2 (Count 2); and possession of child pornography, in violation of 18 U.S.C. § 2252(a)(4)(B) and

(b)(2) (Count 3). The applicable Guidelines range has been correctly calculated in the Presentence

Investigation Report (“PSR”) as 120 months’ imprisonment as to Counts 1 and 2 and 188 months

to 235 months’ imprisonment as to Count 3. See Dkt. No. 63 (PSR), at ¶ 122. The United States

recommends that the Court impose a sentence of 188 months’ imprisonment, which is sufficient,

but not greater than necessary, to reflect the seriousness of the crime, the significant harm caused



                                                 2
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 3 of 24 PageID# 351




by the defendant’s crimes, the risk of recidivism, and to deter the defendant and others who may

seek to profit from this type of widespread cybercrime in the future.

                                        BACKGROUND

        From at least in or around October 2020 through 2022, the defendant used the online

moniker “Pompompurin” to make posts on Raidforums offering to sell valuable breached

databases.1 PSR ¶ 25. Then, starting in or around March 2022, the defendant leveraged the

reputation he built on Raidforums to create and administer BreachForums with the assistance of

co-conspirators, including an evolving staff of moderators. Id. ¶¶ 18, 26. The defendant and his

co-conspirators gained at least $698,714 through the operation of BreachForums. Id. ¶ 39.

I.      Defendant’s Creation and Operation of BreachForums

        In March 2022, the defendant founded and became the lead administrator of

BreachForums. PSR ¶ 36. The defendant also hired and managed a staff of moderators (i.e., co-

conspirators) who played an important role in ensuring that BreachForums operated properly and

who performed traditional administrative activity, such as transmitting messages to warn members

of conduct that violated BreachForums’ rules. Id. ¶ 38.

        As the name “BreachForums” suggests, the purpose of BreachForums, and the defendant’s

intent in operating the forum, was to traffic, and aid and abet others in trafficking, breached or



1
  In the modern digital economy, large companies and organizations often collect and store a
significant amount of PII about their customers or users in large online repositories known as
databases. The types of data stored in customer databases can range from limited identity
information, such as customer name, email address, and contact information, to far more sensitive
material, such as customer login credentials for accessing online accounts and services, bank
account numbers, payment card data, social security numbers, dates of birth, and driver’s license
information. When this sensitive personal data falls into the wrong hands through computer
hacking—often termed “data breaches”—or other means, it can be easily exploited by fraudsters
to conduct unauthorized financial transactions or assume the identity of unsuspecting Americans
in furtherance of other financial fraud schemes.

                                                3
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 4 of 24 PageID# 352




stolen databases containing access devices, among other things. PSR ¶ 27. In particular, the

defendant intentionally ran BreachForums in a manner that made it an attractive marketplace for

cybercriminals to frequent in an effort to buy, sell, or trade stolen or hacked access devices. Id.

        To achieve these objectives, the defendant took a leading role in all aspects of

BreachForums’ operations. PSR ¶ 36. Among other things, he (i) designed and administered the

website’s software and computer infrastructure; (ii) registered domains to host or provide access

to the BreachForums website in a manner that prevented the effective identification of him as the

person who registered it;2 (iii) established and enforced the website’s rules; (iv) created and

managed sections of the website dedicated to promoting the buying and selling of stolen data; (v)

operated a middleman service; (vi) approved and uploaded breached databases to the

BreachForums’ “Official” network for delivering content; and (vii) provided other assistance to

BreachForums members seeking to buy and sell illicit material on the website, including by

investigating and sometimes vouching for the authenticity of stolen data. Id.

        In accordance with the defendant’s design, any individual with an Internet browser could

access and view the BreachForums website without a membership. PSR ¶ 28. However, the

website required an individual to sign up for a membership to solicit items for sale or to purchase

items. Id. BreachForums offered tiers of membership options that cost varying amounts of money,

including a “God” membership that offered almost unlimited access to the BreachForums website

and features. Id.

        The defendant further organized the BreachForums website into sections that enabled

members to offer, purchase, and provide access to different categories of hacked or stolen data and



2
   Some of the domains registered by Fitzpatrick included breached.vc, breached.to,
breachedforums.com, breachforums.net, breachforums.org.

                                                 4
 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 5 of 24 PageID# 353




other contraband. PSR ¶ 26. In a “Marketplace” section and “Leaks Market” subsection, for

example, BreachForums members bought and sold hacked or stolen databases, tools for

committing cybercrime, and other illicit material. Id. ¶ 29. Items commonly sold in this section

included bank account information, social security numbers, other PII, and login information for

compromised online accounts, such as usernames and passwords to access accounts with service

providers and merchants. Id. BreachForums also supported additional sections in which users

posted stolen data and discussed tools and techniques for hacking and exploiting that information,

including in the “Cracking,” “Leaks,” and “Tutorials” sections. Id. ¶ 31. Examples of stolen data

offered or trafficked in these sections include:

             On December 18, 2022, a BreachForums user with the moniker “USDoD” posted
              details of approximately 87,760 members of InfraGard, a partnership between the
              Federal Bureau of Investigation (FBI) and private sector companies focused on the
              protection of critical infrastructure. PSR ¶ 30.

             On January 4, 2023, information obtained from a major U.S.-based social
              networking site was posted by a user with the moniker “StayMad.” PSR ¶ 30. This
              information included names and contact information for approximately 200 million
              users. Id.

             On January 21, 2023, a BreachForums user with the moniker “Sin” published a post
              advertising a list of approximately 20 million user records for a company that
              controls two U.S.-based background check services (“Victim-1”). PSR at p. 39-40
              (Declaration of Victim-1). Victim-1 reports that the breached database contained
              the PII of user accounts created between 2011 and April 2019, including subscriber
              name, email address, sparse phone number, password reset token and hashed
              password. Id.

             On March 9, 2023, a BreachForums user with the moniker “denfur” also posted a
              message revealing the PII of tens of thousands of U.S. citizens. PSR ¶ 30. The
              message included a link to download a file containing names, dates of birth, social
              security numbers, employment information, and health insurance information stolen
              from a health insurance exchange. Id.

       To facilitate transactions amongst BreachForums members operating in these sections, the

defendant offered a “middleman” service in which he acted as a trusted middleman, or escrow,


                                                   5
 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 6 of 24 PageID# 354




between individuals on the website who sought to buy and sell information. PSR ¶ 32. The

defendant’s middleman service substantially facilitated and encouraged the dissemination of

hacked or stolen data through BreachForums because it enabled purchasers and sellers to verify

the means of payment and contraband files being sold prior to executing the purchase and sale. Id.

The defendant’s standardized middleman process required members to notify him of the “product”

they sought to trade. Id. In a post announcing the service, the defendant boasted that he had

already facilitated over $430,000 in transactions as a middleman with “zero issues” as of

November 6, 2022—i.e., the midpoint of the scheme. Id. ¶ 45. Examples of the transactions for

which the defendant served as a trusted middleman include:

              In July 2022, the defendant served as the middleman for a transaction in which an
               FBI online covert employee (“OCE”) in the Eastern District of Virginia paid a
               BreachForums user, expo2020, approximately $5,000 to purchase the PII and bank
               account information of approximately 15 million U.S. persons. PSR ¶¶ 46-47. The
               defendant facilitated the transaction despite receiving notice that expo2020 was
               offering “USA FULLZ. Name.ssn.dob.address.dl,” and the data included birth
               dates, social security numbers, and bank account information for use in conducting
               financial scams. Id.

              Likewise, in August 2022, the defendant served as the middleman for a transaction
               in which an OCE paid a BreachForums user, jigsaw, to buy unauthorized access to
               the accounting system of a U.S. healthcare company (“Victim-2”), and sample files
               from the network containing driver’s license photos, insurance cards, and partial
               credit card information for approximately 13 individuals. PSR ¶¶ 48-52. As with
               the prior purchase, the defendant completed the transaction after being notified that
               the buyer intended to use the unauthorized access to make money. Id. ¶ 51.

       BreachForums also managed a section titled “Official,” which the defendant described as

a “[f]orum where databases stored on our own servers are kept.” PSR ¶ 33. As of March 7, 2023,

approximately 888 databases containing over 14 billion individual records were available for

purchase on BreachForums’ Official “content distribution network” (CDN) through a “credits”

system that the website administered. Id. ¶¶ 33-34. Credits were available for purchase on the

website or earned through contributing content. Id. BreachForums members seeking to post

                                                 6
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 7 of 24 PageID# 355




databases to the Official BreachForums CDN were required to contact the defendant directly, who

would then only upload those databases that he approved. Id.

        For instance, on May 8, 2022, the defendant approved the addition to BreachForums’

Official CDN of a customer database from a U.S.-based internet hosting and security services

company that purported to contain the names, addresses, phone numbers, usernames, password

hashes, and email addresses for approximately 8,000 customers, as well as payment card

information for approximately 1,900 customers. PSR ¶ 42. The approval caused the database to

be offered for sale through forum credits to BreachForums members on the Internet, including an

OCE who viewed the solicitation. Id. On October 27, 2022, the FBI OCE purchased and

downloaded this database for 8 credits3 and confirmed that the database contained apparently

stolen customer PII, such as usernames, password hashes, credit card numbers, expiration dates,

and card verification values. Id. ¶¶ 43-44.

        The defendant also knowingly and intentionally provided advice and other support that

aided the illicit activities of BreachForums members. PSR ¶¶ 53-55. For instance, in September

2022, the defendant provided a BreachForums member with a roadmap for how to monetize a

breached e-commerce database that included approximately 16 million records. Id. ¶ 55. In

relevant part, the defendant advised the user to first try to extort the victim company for money,

and then try to sell the database to others if the victim refused to pay. Id. (“I[’]d try getting money

out of them first, and if they refuse try selling it.”). The defendant then explained that he would

value the database at about “a few thousand” after the user sought pricing guidance. Id.




3
 As of October 20, 2022, credits cost approximately $0.25 each, and were available in bundles of
30, 60, 120, 240, and 500. Various forms of cryptocurrency were accepted as payment.

                                                  7
 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 8 of 24 PageID# 356




        In addition, the defendant sometimes assured his members that he would help them

obfuscate their identities from law enforcement. PSR ¶¶ 53-54. For instance, on May 11, 2022,

the defendant sent a private message through BreachForums in which he agreed to delete the

registration Internet Protocol (IP) address of a BreachForums member who wanted it deleted “for

privacy reasons, I don’t want cops randomly scouting it for dumb shit I do.” Id. ¶ 53. Similarly,

on May 24, 2022, the defendant sent a private message to a BreachForums member in which he

promised to provide “falsified [registration] information” if law enforcement asked. Id. ¶ 54. As

part of the reply, the defendant noted “[s]ure, although I doubt law enforcement would even bother

making legal requests to a hacking forum lmao.”

II.     Fitzpatrick’s Knowing Possession of Child Pornography

        The defendant knowingly possessed approximately 26 digital files depicting minors

engaged in sexually explicit conduct. PSR ¶ 56. The defendant saved these files in two folders

on his Samsung solid state drive (“Samsung SSD”). Id. ¶¶ 56-57. These files included, for

example, a video file with 13y-fully-nude in the title, which depicted a minor female who exposed

her genitals to the camera and masturbated. Id. ¶ 59. The defendant saved this file to his Samsung

SSD on February 9, 2023 and later opened it. Id. Another video file in the defendant’s collection

depicted two prepubescent girls who exposed their genitals to the camera and masturbated. Id. ¶

60. The defendant also saved this file to his Samsung SSD on February 9, 2023 and later opened

the file after he saved it. Id.

III.    Procedural History and Pretrial Violation

        On March 15, 2023, the defendant was arrested pursuant to a criminal complaint and arrest

warrant, which charged him with conspiracy to commit access device fraud, in violation of 18

U.S.C. § 1029(b)(2). The defendant made his initial appearance in the Southern District of New



                                                8
 Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 9 of 24 PageID# 357




York, where he was released on a personal recognizance bond and ordered to comply with pretrial

supervision and various other terms and conditions of release. See Dkt. No. 10. On March 24,

2023, the defendant made his initial appearance in the Eastern District of Virginia and was ordered

to not access VPN software as an additional condition of release. See Dkt. No. 16.

          On July 13, 2023, the defendant pleaded guilty to a three-count Information that charged

him with conspiracy to commit access device fraud, in violation of 18 U.S.C. §§ 1029(b)(2) and

3559(g)(1) (Count 1); solicitation for the purpose of offering access devices, in violation of 18

U.S.C., §§ 1029(a)(6) and 2 (Count 2); and possession of child pornography, in violation of 18

U.S.C. § 2252(a)(4)(B) and (b)(2) (Count 3).

          The Honorable T.S. Ellis, III permitted the defendant to remain on bond pending

sentencing, but imposed certain additional terms and conditions to the existing bond conditions

ordered in March 2023. See Dkt. No. 44. Notably, the defendant was ordered to not access a

computer and/or the Internet without computer monitoring software installed by pretrial services

and that he not use any tools for obfuscating his identity, such as virtual private networks (VPNs).

See id.

          On December 21, 2023, Judge Ellis authorized an arrest warrant for the defendant based

on a Petition submitted by the U.S. Probation Office (USPO) detailing the defendant’s alleged

violation of his conditions of release. See Dkt. No. 54. Details concerning the USPO petition and

other relevant facts are set forth in Exhibits A and B.

                                   SENTENCING ANALYSIS

I.        Statutory Penalties and Sentencing Guidelines Calculations

          Counts 1 and 2 of the Information each carry a maximum sentence of 10 years’

imprisonment and a term of supervised release up to 3 years. See 18 U.S.C. §§ 1029(a)(6) and (b)



                                                  9
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 10 of 24 PageID# 358




and 3853(b). The offense of possession of child pornography carries a maximum sentence of 20

years’ imprisonment and a minimum term of supervised release of at least 5 years up to a lifetime

term. See 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) and 3583(k).

       Here, the PSR correctly calculated the total offense level for the defendant under the

Guidelines (USSG) as follows:

             Count Group 1: Conspiracy to Commit Access Device Fraud and
                 Solicitation for the Purpose of Offering Access Devices

 Guideline                                                                Offense Level
 Base offense level (USSG. § 2B1.1(a)(2))                                           6
 Loss amount was more than $550,000 but less than $1,500,000                      +14
 (USSG § 2B1.1(b)(1)(H))
 Offense involved 10 or more victims (USSG § 2B1.1(b)(2)(A)(i))                    +2
 Offense involved receiving stolen property, and the defendant was in              +2
 the business of receiving and selling stolen property
 (USSG § 2B1.1(b)(4))
 Offense involved sophisticated means and the defendant intentionally              +2
 engaged in or caused the conduct constituting sophisticated means
 (USSG §2B1.1(b)(10)(C))
 Offense involved production or trafficking of any unauthorized                    +2
 access device or counterfeit access device
 (USSG § 2B1.1(b)(11)(B)(i))
 Offense involved the unauthorized public dissemination of personal                +2
 information (USSG § 2B1.1(b)(18)(B))
 Defendant was an organizer or leader of a criminal activity that                  +4
 involved five or more participants or was otherwise extensive
 (USSG § 3B1.1(a))
 Statutory enhancement under U.S.C. § 3559(g)(1) applies                           +2
 (USSG § 3C1.4)
 ADJUSTED OFFENSE LEVEL                                                            36

PSR ¶¶ 69-81.




                                               10
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 11 of 24 PageID# 359




       The PSR also properly calculated an adjusted offense level of 27 for Count 3 as follows:

                           Count 3: Possession of Child Pornography

 Guideline                                                                 Offense Level
 Base offense level for a violation of 18 U.S.C. §§ 2252(a)(4)(B) and              18
 (b)(2) (USSG § 2G2.2(a)(1))
 The material involved a prepubescent minor or a minor who had not                 +2
 attained the age of 12 years. (USSG § 2G2.2(b)(2))
 The offense involved the user of a computer or interactive service for            +2
 the possession, transmission, receipt, or distribution of the material,
 or for accessing with intent to view the material.
 (USSG § 2G2.2(b)(6))
 The offense involved at least 600 images. (USSG § 2G2.2(b)(7)(D))                 +5
 ADJUSTED OFFENSE LEVEL                                                            27

PSR ¶¶ 82-89.

       In the final PSR, the defendant was not awarded a two-level decrease for acceptance of

responsibility under USSG § 3E1.1(a), a decision that the government supports for the reasons set

forth in Exhibit A. Accordingly, as explained in the PSR, the defendant’s combined adjusted

offense level of 36 and criminal history category of I results in a Guidelines range of 188 months

to 235 months’ imprisonment. PSR ¶ 122. Because Counts 1 and 2 have a statutory maximum

sentence of 10 years, the Guidelines for those counts are 120 months’ imprisonment. Id.

II.    The Defendant’s Objection to the PSR

       The defendant has objected to not being awarded a two-level decrease for acceptance of

responsibility. The government believes the defendant’s objection should be overruled given the

defendant’s recent pretrial violation.

       A defendant may be entitled to a two-level decrease of the offense level “if the defendant

clearly demonstrates acceptance of responsibility for his offense.” USSG § 3E1.1. While entry

of a guilty plea prior to commencement of trial may constitute “significant evidence of acceptance


                                                11
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 12 of 24 PageID# 360




of responsibility . . . this evidence may be outweighed by conduct of the defendant that is

inconsistent with such acceptance of responsibility. A defendant who enters a guilty plea is not

entitled to an adjustment under this section as a matter of right.” Id., comment. (n. 3). Here, the

defendant used the Internet to commit his crimes–namely, the creation of an online platform to

facilitate the distribution and sale of victim data to cybercriminals worldwide. As part of his

administration of this platform, he agreed to assist criminal users of his website in concealing their

true identities to avoid detection by law enforcement. Since the entry of his guilty pleas, the

defendant has used VPN services to conceal his use of the Internet and has repeatedly utilized an

unauthorized and unmonitored electronic device to avoid detection by pretrial services. Thus,

while the defendant did in fact plead guilty and admit to his crimes, he has not clearly demonstrated

acceptance of responsibility since he has continued to engage in evasive behavior that is in direct

violation of the orders of two different United States Judges.

III.     Sentencing Recommendation

         As the Court is aware, the Guidelines are advisory, and just one factor that must be

considered along with the other factors set forth in 18 U.S.C. § 3553(a).4 Here, however, a

sentence of 188 months (i.e., the low end of the Guidelines) is supported by the defendant’s

immense contributions to enabling widespread cybercrime, the circumstances of the offense, the

risk of recidivism, and the need to adequately deter others from perpetrating similar crimes.


4
  The § 3553(a) factors include: the nature and circumstances of the offense and the history and
characteristics of the defendant; the need for the sentence imposed to reflect the seriousness of the
offense, to promote respect for the law, to provide just punishment for the offense, to afford
adequate deterrence to criminal conduct, to protect the public from further crimes of the defendant,
and to provide the defendant with needed training, medical care, or other treatment; the kinds of
sentences available; the kinds of sentence and the sentencing range established for the type of
offense committed; any pertinent policy statement; the need to avoid unwarranted sentence
disparities among defendants with similar records who have been found guilty of similar conduct;
and the need to provide restitution to any victims of the offense.

                                                 12
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 13 of 24 PageID# 361




           A.      Nature and Circumstances of the Defendant’s Offenses

       The known scope, breadth, and brazenness of the defendant’s scheme to enable and fuel

widespread cybercrime warrants a substantial period of incarceration. Indeed, as detailed above,

the defendant’s administration of BreachForums played an instrumental role in bringing together

more than 300,000 members to solicit, distribute and access thousands of breached databases

containing the stolen data of hundreds of companies, organizations, and governmental

organizations of varying size and the PII of millions of U.S. persons. See, e.g., PSR ¶¶ 26-52 at p.

33-42. By creating a platform for hackers and fraudsters to connect and conduct business, the

defendant made it possible for BreachForums members to commit exponentially more crimes and

more sophisticated crimes than any could have done alone. See Ben Collier et al., Cybercrime Is

(Often) Boring: Maintaining the Infrastructure of Cybercrime Economies, at 1 (Cambridge

Cybercrime Centre, 2020) (“It is generally accepted that the widespread availability of specialist

services has helped drive the growth of cybercrime.”) (hereinafter “Collier, Cybercrime

Economies”), available at https://www.cl.cam.ac.uk/~bjc63/Crime_is_boring.pdf.

       The criminal activity on BreachForums touched nearly every sector of U.S. society. As

partly highlighted above, the defendant’s victims included U.S.-based healthcare companies, a

major public healthcare exchange, public health organizations, the FBI’s InfraGard partnership for

protecting critical infrastructure, major U.S.-based social media companies, U.S.-based merchants

and service providers of varying size, and U.S.-based financial institutions. See, e.g., PSR ¶¶ 26-

52 at p. 33-41. The “Official” databases section of BreachForums alone claimed to provide access

to approximately 888 stolen databases containing over 14 billion individual records. Id. ¶ 34.

       The victim impact statements provided by victim corporations and organizations highlight

some of the significant and far-reaching consequences of the defendant’s crimes. Among other



                                                13
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 14 of 24 PageID# 362




things, the defendant’s conduct has caused victims to (i) devote time and money investigating the

data breaches posted on BreachForums and tracking the dissemination of their stolen data on the

dark web; (ii) face regulatory scrutiny from the Federal Trade Commission (FTC) and class action

lawsuits associated with their data security practices; and (iii) suffer reputational damage and

business harm. See, e.g., PSR at p. 33-41.

         For instance, the victim impact statement of Victim-1 described how a single post by a

BreachForums member, which offered to sell a database containing the sensitive PII of 20 million

users of two background check services, caused them to incur direct expenses of more than

$180,000 to investigate the data breach and track the movement of their stolen data on the dark

web. See PSR at 40, ¶¶ 4-8. Victim-1 further detailed how the posts triggered requests from the

FTC, and at least one complaint filed by an individual in the Western District of Michigan. Id. ¶

7.    To limit the reputational harm caused by the post, Victim-1 also spent approximately

$11,492.50 on breach-related public relations.5

         Likewise, a victim impact statement from a healthcare services company in California

(“Victim-3”) detailed how a BreachForums member made a post in January 2023 distributing

approximately 45,523 lines of stolen data, including PII and Victim-3’s source code. See Exhibit

C (Victim Impact Statement of Victim-3). The data appears to have been stolen through a data

breach a month earlier. Id. As a result of this incident, individuals whose PII was revealed in the

data breach have initiated a class action lawsuit against Victim-3. Id. Victim-3 also describes

incurring “substantial costs in the form of data breach response and remediation, security controls

and improvements, business interruption, and the continued costs of litigation.” Id.




5
    The government notes that harm to reputation is not a pecuniary harm under §2B1.1.

                                                  14
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 15 of 24 PageID# 363




       The activity on BreachForums also targeted the PII of ordinary Americans held by

governmental entities. For instance, the Official CDN, which Fitzpatrick personally managed,

uploaded a user database of the online training database for the Washington State Food Worker

Course. See PSR at 42. The data trafficked on BreachForums included the user account

information for approximately 1.5 million individuals, including name, date of birth, email

address, and zip code, and the driver’s license numbers of approximately 9,500 individuals. See

id.; see also Tacoma-Pierce County Health Department, “Data breach exposed Food Worker Card

records.       We        are       notifying        those     affected,”       available       at

https://www.tpchd.org/Home/Components/News/News/356/286 (July 6, 2023). The Tacoma-

Pierce County Health Department reports that the discovery of the breach and associated

trafficking of the data on the Official CDN consumed enormous amounts of public resources,

including (i) approximately 607 hours of staff time investigating the breach, (ii) approximately

208 hours of staff time responding to emails, phone calls, and public records request, and (iii)

approximately 45 hours of communications staff time drafting public notifications, preparing

public documentation, sending notifications to 1.5 million email addresses, and responding to the

media and the Tacoma-Pierce County Board of Health. See PSR at 42. This is time that the staff

of the Tacoma-Pierce County Health Department could have spent serving their actual mission—

protecting the public health of the county.

       As detailed above, Fitzpatrick also personally served as the middleman for another

BreachForums member who, without authorization, sold to an FBI OCE access to the accounting

system of Victim-2, another healthcare company, and sample PII stored therein. PSR ¶¶ 48-52

and p. 35-37. Although the FBI’s involvement mitigated the harm, Victim-2 reports that the




                                               15
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 16 of 24 PageID# 364




incident still forced three senior engineers to spend approximately 63 hours investigating the

breach and ultimately led it to detected unauthorized access from a foreign country. Id.

         While the sheer volume of criminal activity on BreachForums, the victim impact

statements, and the $698,714 of gain attributed to the defendant and his co-conspirators,

underscore the seriousness of the defendant’s crimes, the parties’ stipulated gain enhancement

reflects a highly conservative projection of the actual harm that the defendant caused. Indeed, this

case presented a number of unique investigative challenges associated with quantifying the harm

caused by the defendant’s administration of BreachForums; particularly for the many millions of

ordinary individuals whose PII was trafficked across the platform and then misused by unidentified

BreachForums members to facilitate financial fraud schemes.6 Indeed, the FBI’s annual “Internet

Crime Report” for 2022 indicates that approximately $742,438,136 of the $1,201,759,995 reported

damages from data breaches in 2022 were suffered by ordinary individuals whose personal data

was released into an unsecure environment—e.g., places like BreachForums. See FBI Internet

Crime           Report            (2022),            at         22,           available          at

https://www.ic3.gov/Media/PDF/AnnualReport/2022_IC3Report.pdf. Further, in a recent report

titled “Cost of a Data Breach: 2023,” IBM Security reports that data breaches cost the average

organization approximately $4.5 million and that customer PII, such as social security numbers,

ultimately cost the organization approximately $183 per record. See Exhibit D (IBM Security,

Cost of a Data Breach: 2023), at 9, 10, 18.


6
  Calculating a precise loss figure is also challenging here because (i) of the diverse array of PII
that was sold, offered, and trafficked on the platform, and (ii) many of the customer databases
trafficked through the BreachForums Marketplace were not visible to law enforcement. In
addition, some victim businesses and organizations have struggled to quantify how the significant
negative publicity and regulatory attention caused by the posting of their user databases on
BreachForums ultimately impacted their existing business relationships and ability to attract new
customers, future investment, and new employees to their organizations.

                                                16
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 17 of 24 PageID# 365




       The defendant’s possession of approximately 26 digital files depicting minors engaged in

sexually explicit conduct, including two prepubescent minors, is also extremely serious. “It is well

established that children featured in child pornography are harmed by the continuing dissemination

and possession of that pornography. Such images are ‘a permanent record of the children’s

participation and the harm to the child is exacerbated by their circulation.’” United States v.

Burgess, 684 F.3d 445, 459 (4th Cir. 2012) (quoting New York v. Ferber, 458 U.S. 747, 759

(1982)); accord United States v. Accardi, 669 F.3d 340, 345 (D.C. Cir. 2012) (“[C]hild

pornography creates an indelible record of the children’s participation in a traumatizing activity,

and the harm to the child is only exacerbated by the circulation of the materials.”). “Every instance

of viewing images of child pornography represents a renewed violation of the privacy of the

victims and a repetition of their abuse.” Adam Walsh Child Protection and Safety Act of 2006,

Pub. L. No. 109-248, § 501(2)(D), 120 Stat. 587, 624 (2006); accord United States v. Sherman,

268 F.3d 539, 547 (7th Cir. 2001) (recognizing that “[t]he possession, receipt and shipping of child

pornography directly victimizes the children portrayed by violating their right to privacy, and in

particular violating their individual interest in avoiding the disclosure of personal matters”). These

children “must live with the knowledge that adults like [the defendant] can pull out a picture or

watch a video that has recorded the abuse of [them] at any time,” and they “suffer a direct and

primary emotional harm when another person possesses, receives or distributes the material.”

Sherman, 268 F.3d at 547-48.

       Here, through his possession of images and videos of child sexual abuse, the defendant

perpetuated the victimization of the children whose exploitation is memorialized in those graphic

depictions of their abuse. See United States v. Daniels, 541 F.3d 915, 924 (9th Cir.2008)




                                                 17
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 18 of 24 PageID# 366




(explaining that “merely possessing child pornography is not a victimless crime; it fuels the

demand for the creation and distribution of child pornography”).

           B.      The History and Characteristics of the Defendant

       The defendant’s criminal acts were not the product of a momentary lapse of judgement.

Rather, for more than a year, the defendant made countless decisions as part of a brazen effort to

create and lead the largest English-language data breach forum in the world. See PSR ¶¶ 35, 118-

119 (indicating that he has never been employed and was not in school after May 2022). The

defendant made these choices despite knowing that his conduct was illegal. Indeed, the defendant

only elected to create BreachForums in March 2022 after law enforcement had taken down

Raidforums and arrested the Raidforums founder in January and February 2022 on similar access

device charges. Id. ¶¶ 18, 25, 26. For the defendant, the creation of BreachForums reflected a

willful and defiant escalation of the types of criminal activity that he began pursuing as a prolific

distributor of data breaches on Raidforums in 2020. Id. As previously detailed, the defendant’s

statements to other BreachForums members, use of fictitious identities to register many of

BreachForums’ domains, and reliance on online aliases to obscure his control over the platform,

further highlight the willfulness of his crimes. Id. ¶¶ 26, 37, 53-55.

       In addition, as previously detailed, the Government received information from a messaging

and social media platform indicating that the defendant was engaged in a sustained pattern of

violations of his bond conditions even after entering a guilty plea in this case. The defendant’s use

of one or more unmonitored devices and obfuscation services is particularly concerning here given

his history of committing cybercrime through false identities and anonymizing technology. See

also Exhibit A (discussing history and characteristics of defendant).




                                                 18
    Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 19 of 24 PageID# 367




         Accordingly, although the defendant has no formal criminal history, the government

believes the defendant’s history of willful defiance of the law and malicious online activity

suggests a likelihood of recidivism if left undeterred by a significant term of incarceration. The

risk of recidivism is particularly acute here given the defendant’s repeated decisions to choose

cybercrime over legitimate pursuits despite having opportunities that were never within the reach

of many offenders who come before this Court, including a stable upbringing, financial support

from his parents, educational opportunities, and impressive technical skills.7

         In recognition of the defendant’s age and medical background, the government proposes a

sentence of 188 months that is at the low end of the Guidelines. However, in view of the

seriousness of the defendant’s sustained and willful conduct, the defendant’s history and

characteristics do not merit any further variance or departure and support a significant sentence.

            C.     The Sentence Should Deter Leaders of Organized Cybercrime

         According to the Internet Crime Report for 2022, the FBI received reports of 58,859

personal data breaches and 2,795 organizational data breaches that caused complained total losses

of approximately $1,201,759,995 in 2022 alone. See FBI Internet Crime Report (2022), at 22 and

24. The IBM “Cost of a Data Breach Report” for 2023 estimate that U.S. organizations suffered

data breach losses of approximately $9.48 billion. Exhibit D, at 11.

         To deter and disrupt cybercriminals who would seek to profit from data breaches, it is

critically important to punish the leaders of the cybercrime ecosystem. In recent years, judges in

this District have considered, at sentencing, the widespread harm that leaders and organizers of

cybercrime inflict. See, e.g., United States v. Bondars et al., 1:16-cr-228-LO (E.D. Va.), Dkt. 233,


7
 “Criminals who have the education and training that enables people to make a decent living
without resorting to a crime are more rather than less culpable than their desperately poor and
deprived brethren in crime.” United States v. Stefonek, 179 F.3d 1030, 1039 (7th Cir. 1999).

                                                19
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 20 of 24 PageID# 368




at 23–26 (sentencing transcript containing Court’s observation that defendant who created and

operated a tool “facilitating, aiding and abetting enormous numbers of hackers” needed to be

deterred and that seriousness of crimes warranted 168-month sentence); United States v. Burkov,

1:15-cr-245-TSE (sentencing defendant to nine years in prison for his operation of two cybercrime

websites that resulted in over $20 million in fraudulent purchases).

        Here, the defendant incentivized and turbocharged the marketplace for data breaches by

operating BreachForums in a manner designed to help cybercriminals overcome the “skill, trust,

and funding barriers which inhibit the development of truly mass-scale cybercrime economies”

and helped buyers “find sellers in scam-ridden underground communities.” Collier, Cybercrime

Economies, at 5. A significant sentence is needed to deter a future wave of leaders of the

cybercrime ecosystem.

        Further, as this case illustrates, cybercriminals exploit the invisibility afforded by the

Internet, cryptocurrency, and other masking tools to evade detection for many years and earn

significant rewards. Indeed, many Internet crimes go unsolved and unpunished due to the

tremendous resources it takes for law enforcement to pierce through a cybercriminal’s cloak of

anonymity. As the Honorable J. Harvie Wilkinson, III observed in United States v. Carver, 916

F.3d 398 (4th Cir. 2019), in an access device prosecution:

               Financial fraud is a modern scourge. It preys especially upon the
               unsophisticated and vulnerable. As the district court noted, crimes
               like those in this case harm victims ‘in almost irreparable ways by
               causing them loss of work, mental anguish, monetary loss, and loss
               of peace of mind.’ J.A. 152. It raises costs for businesses, which
               must invest in security measures. These crimes require time and
               expertise to investigate and can be difficult to unravel and prove.


Id. at 404.




                                                20
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 21 of 24 PageID# 369




       Accordingly, when a sophisticated cybercriminal like the defendant is identified and

apprehended, a substantial sentence is needed to deter others from pursuing the same path. See

United States v. Hayes, 762 F.3d 1300, 1308 (11th Cir. 2012) (“[G]eneral deterrence is an

important factor in white-collar cases, where the motivation is greed.”); United States v. Martin,

455 F.3d 1227, 1240 (11th Cir. 2006) (Because “economic and fraud-based crime are more

rational, cool, and calculated than sudden crimes of passion or opportunity, these crimes are prime

candidates for general deterrence” (internal quotations and citation omitted)).

           D.      Supervised Release

       The Court must also determine the appropriate term of supervised release at sentencing.

“Supervised release . . . is not a punishment in lieu of incarceration.” United States v. Granderson,

511 U.S. 39, 50 (1994). Instead, it “fulfills rehabilitative ends, distinct from those served by

incarceration.” United States v. Johnson, 529 U.S. 53, 59 (2000). Under 18 U.S.C. § 3583(b)(2),

the authorized term of supervised release for Counts 1 and 2 is not more than 3 years, and under

Section 3583(k), the authorized term for Count 3 is at least five years and up to life. This five-

year mandatory minimum term for Count 3 reflects a heightened concern for recidivism among

sex offenders and the need for supervision over time. See, e.g., H.R. Rep. No. 107-527, at 2 (2002)

(explaining that “studies have shown that sex offenders are four times more likely than other

violent criminals to recommit their crimes” and that “the recidivism rates do not appreciably

decline as offenders age”). Notably, the Guidelines recommend a lifetime term of supervised

release for sex offenders, USSG § 5D1.2(b) (Policy Statement), and the Fourth Circuit has

observed that § 3583(k) and § 5D1.2(b) jointly “reflect[] the judgment of Congress and the

Sentencing Commission that a lifetime term of supervised release is appropriate for sex offenders

in order to protect the public.” Morace, 594 F.3d at 351 (citations omitted).



                                                 21
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 22 of 24 PageID# 370




       The defendant’s conduct—namely, his years-long use and subsequent administration of

online cybercrime forums, his attempts to evade law enforcement detection, and his recent pretrial

violation and associated failure to clearly demonstrate acceptance of responsibility for his

crimes—underscores the need for a substantial term of supervised release to ensure the defendant

is properly monitored and can access rehabilitation services. For these reasons, the United States

respectfully recommends that the Court impose a substantial term of supervised release with the

conditions of supervision contemplated under 18 U.S.C. § 3583(d) and USSG § 5D1.3(d)(7) for

sex offenders required to register under the Sex Offender Registration and Notification Act.

           E.      Special Assessments Under the Justice for Victims of Trafficking Act
                   (JVTA) & the Amy, Vicky, and Andy Child Pornography Victim
                   Assistance Act (AVAA)

       On December 7, 2018, Congress enacted the Amy, Vicky, and Andy Child Pornography

Victim Assistance Act. The Act instructs that, in addition to any restitution or other special

assessment, courts “shall assess . . . not more than $17,000 on any person convicted of an offense

under section 2252(a)(4) . . . .” 18 U.S.C. §§ 2259A(a)(1). Assessments collected under this

statute are deposited in the Child Pornography Victims Reserve, which provides monetary

assistance to victims of trafficking in child pornography, see §§ 2259(d) & 2259B, and shall be

paid in full after any special assessment under § 3013 and any restitution to victims of the

defendant’s offense, see § 2259A(d)(2). In determining the amount to be assessed under § 2259A,

courts should consider the sentencing factors set forth in § 3553(a) and the guidance in § 3572 for

the imposition of fines. § 2259A(c). The United States respectfully requests that the Court impose

a reasonable special assessment under § 2259A, in addition to the $300 mandatory special

assessment for the defendant’s felony convictions pursuant to 18 U.S.C. § 3013.




                                                22
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 23 of 24 PageID# 371




       Additionally, under the Justice for Victims of Trafficking Act, courts “shall assess an

amount of $5,000 on any non-indigent person” convicted of certain enumerated offenses, including

possession of child pornography. See 18 U.S.C. § 3014. The United States respectfully requests

that the Court impose an assessment of $5,000 for the defendant’s convictions pursuant to 18

U.S.C. § 3014.

           F.      Restitution

       As part of the plea agreement entered into by the parties, and pursuant to 18 U.S.C. §

3663A(c)(1) and (c)(2), the defendant has agreed to entry of a Restitution Order for the full amount

of the victims’ losses as determined by the Court. The government has sought to obtain restitution

amounts from the victims who submitted victim impact statements for inclusion in the PSR. At

the time of this filing, the parties agree on the restitution amounts for Victim-1 and Victim-2.

However, Victim-3 has indicated to the government that it needs more time to provide a restitution

amount. Accordingly, with the consent of the defendant and in accordance with the terms of the

Plea Agreement, the government asks that the Court defer imposition of restitution to a later date

so as to allow Victim-3 to provide a restitution amount for their harm.

           G. Forfeiture

       The United States submitted a consent order for forfeiture, signed by the defendant and

his counsel, during the plea agreement hearing. See Dkt. No. 42. The order was signed by the

Court the same day.




                                                23
Case 1:23-cr-00119-LMB Document 65 Filed 01/16/24 Page 24 of 24 PageID# 372




                                        CONCLUSION

        For the reasons above, the United States respectfully requests that the Court impose a

sentence at the low end of the Guidelines, a substantial term of supervised release, a $300 special

assessment under § 3013, a $5,000 special assessment under § 3014, and a reasonable special

assessment under § 2259A. The United States also requests that the Court schedule a future

hearing to finalize restitution.



                                               Respectfully submitted,

                                               Jessica D. Aber
                                               United States Attorney

 Date: January 16, 2024                  By:                    /s/
                                               Lauren Halper
                                               Assistant United States Attorney
                                               United States Attorney’s Office
                                               2100 Jamieson Avenue
                                               Alexandria, Virginia 22314
                                               Phone: (703) 299-3700
                                               Fax: (703) 299-3980
                                               Email: Lauren.Halper@usdoj.gov

                                               Aarash A. Haghighat
                                               Senior Counsel
                                               Computer Crime and Intellectual Property Section
                                               U.S. Department of Justice, Criminal Division




                                                24
